                     UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                             DOCKET NO. 5:10-CR-29-V

UNITED STATES OF AMERICA            )
                                    )
            v.                      )
                                    )
                                    )               ORDER OF DISMISSAL
                                    )                 WITHOUT PREJUDICE
LUIS VARGAS-CORNEJO,                )
                  Defendant.        )
___________________________________ )


       Upon Motion by the Government, the Court hereby grants the dismissal of the Bill of

Indictment in the above-captioned case against Luis Vargas-Cornejo, without prejudice.



                                               Signed: February 23, 2011




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